                    Case 4:07-cv-05944-JST Document 4752 Filed 08/09/16 Page 1 of 1
                                                                                                                             CLEAR FORM
 Name Robert J. Bonsignore, Esq.
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 Fax
 E-Mail rbonsignore@class-actions.us
 G FPD        G Appointed    G CJA      G Pro Per    G✘Retained

                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
In Re: Cathode Ray Tube (CRT), Antitrust Litigation                     CASE NUMBER:
This Document Relates to: All Indirect Purchaser Actions
                                                                                       Case No. 3:07-cv-5944; MDL No. 1917
                                                    PLAINTIFF(S),
                                   v.

                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                      Anthony Gianasca, et al. (see Exhibit A for full list)          hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       ✘ Judgment (specify):
                                                                        G
 G Interlocutory Appeals                                                    Final Judgment of Dismissal see Exhibit B
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on              July 14, 2016          . Entered on the docket in this action on July 14, 2016                              .

A copy of said judgment or order is attached hereto.


August 9, 2016                                          /s/ Robert J. Bonsignore
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
